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                                    OFFICE OF THE ATTORNEY GENERAL OF ECUADOR

                                                    [logo]
                                                    ECUADOR



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                                                                      PRESS RELEASE PGE-CI-UCS-023
                                                                                 Quito, July 19, 2019

      ALBACORA CASE: THE OFFICE OF THE ATTORNEY GENERAL OF ECUADOR
       PREVAILS IN INTERNATIONAL ARBITRATION CONCERNING INCOME TAX
                                EXEMPTIONS

   On March 2, 2015, the Spanish company Albacora S.A. notified the Office of the Attorney
   General of Ecuador (PGE, in its Spanish initials) of an investment-related dispute
   involving the Ecuadorian Government: The company claimed that the tax
   determinations made by the Ecuadorian Internal Revenue Service (SRI, in its Spanish
   initials) were impacting their investment, since they believed that the income tax
   exemption established in the Free Trade Zones Law was in effect.

   For its part, Ecuador, in the legal defense mounted by the nation’s Office of the Attorney
   General, maintained that such an exemption was repealed by the Internal Tax System
   Law.

   In 2016, an international arbitration on investment matters was commenced; it was
   administered by the Permanent Court of Arbitration.

   After three years of litigation, today the Tribunal unanimously decided to reject all the
   claims put forward in the proposed request for arbitration, and it ordered the foreign
   company to pay two-thirds of the costs and expenses corresponding to the arbitral
   tribunal and the entity administering the case, as well as 50% of the legal costs incurred
   by Ecuador.

   The Office of the Attorney General thus defended the interests and position of the
   Ecuadorian Government, securing a favorable award in a case where approximately 56
   million dollars was at stake.


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